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                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I
 NATIONAL SHOOTING SPORTS             Civil No. 1:23-cv-00287-DKW-RT
 FOUNDATION,
                                      DEFENDANT ANNE E. LOPEZ’S
              Plaintiff,              OPPOSITION TO PLAINTIFF’S
                                      MOTION FOR PRELIMINARY
        v.                            INJUNCTION (DKT. 13);
                                      DECLARATIONS OF GREGORY
 ANNE E. LOPEZ, in her official       T. GUNDLACH, J.D., PHD; RYAN
 capacity as Attorney General for the GERBER; DEAN TSUKADA;
 State of Hawai‘i,                    EXHIBITS 1–21; CERTIFICATE
                                      OF SERVICE
              Defendant.
                                      District Judge: Chief Judge Derrick K.
                                      Watson

                                         Magistrate Judge: Rom Trader

                                         Hearing: October 20, 2023 at 10:00
                                         a.m.
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                                  INTRODUCTION

       This lawsuit challenges the constitutionality of Hawai‘i’s Firearms Industry

 Responsibility Act, enacted by the Hawaiʻi Legislature and signed by the Governor

 as Act 28 in April 2023. Act 28 creates a civil cause of action against members of

 the firearms industry that fail to establish reasonable controls to address the illegal

 distribution and theft of their inventory, or that sell firearm products that are

 abnormally dangerous and likely to create an unreasonable risk of harm to the public.

       Act 28 is similar to laws adopted in seven other states—each of which is

 designed to protect the health and safety of state residents by promoting responsible

 sales and marketing practices in the firearms industry. Over the past two years, six

 of these laws have been challenged by the same plaintiff, the National Shooting

 Sports Foundation (“NSSF”), a firearm industry trade association that claims its

 members would have to entirely cease operations if the laws were not enjoined. But

 none of this has come to pass. As the Third Circuit observed in rejecting one such

 challenge, NSSF “repeatedly conjures the specter of ‘sweeping liability’ that will

 force its members to shutter their businesses,” “[y]et its bold assertion is backed by

 no evidence.” NSSF v. Att’y Gen. of New Jersey, 80 F.4th 215, 220 (3d Cir. 2023).

       The same is true here: NSSF seeks the extraordinary remedy of a preliminary

 injunction, but has no evidence that any of its members have changed their business

 in any way or have been threatened with the sort of sweeping liability that they



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 imagine. Nor has NSSF pointed to any specific conduct or speech in which its

 members currently engage or plan to engage that would lead to such liability. NSSF

 thus lacks standing.

       Making matters worse, NSSF pursues a facial challenge—seeking to enjoin

 all enforcement of Act 28 against any of its 10,000 members—but facial invalidation

 is “strong medicine,” to be used “sparingly and only as a last resort.” Cal. Tchrs.

 Ass’n v. State Bd. of Educ., 271 F.3d 1141, 1155 (9th Cir. 2001)

 (quoting Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 580 (1998)). Because

 NSSF cannot show that “no set of circumstances” exists under which the law could

 be enforced, its motion must fail. U.S. v. Salerno, 481 U.S. 739, 745 (1987).

       Each of NSSF’s claims also fails on the merits. “[T]he Second Amendment

 does not independently protect a proprietor’s right to sell firearms.” Teixeira v. Cnty.

 of Alameda, 873 F.3d 670, 690 (9th Cir. 2017) (en banc). And even if NSSF could

 bring a Second Amendment claim on behalf of its members’ customers (which it

 cannot), it does not come close to establishing that the conduct regulated by Act 28

 falls under the Second Amendment’s plain text. In any event, the long history of

 weapons regulation in this country supports the constitutionality of Act 28.

       NSSF’s preemption claim fares no better. The Protection of Lawful

 Commerce in Arms Act, 15 U.S.C. § 7901 et seq. (“PLCAA”), bars certain claims

 from being brought against certain members of the gun industry. It is not a free pass


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 for members of the gun industry to strike down entire statutes that may

 hypothetically, some day in the future, be used to bring a lawsuit. And PLCAA’s

 text explicitly allows lawsuits where a defendant “knowingly violated a State or

 Federal statute applicable to the sale and marketing” of firearms. Id.

 § 7903(5)(A)(iii). Act 28 is just such a statute.

       NSSF’s “Unconstitutional Extraterritorial Regulation” claim runs headlong

 into National Pork Producers Council v. Ross, 143 S. Ct. 1142 (2023), which

 rejected a reading of the dormant Commerce Clause that would bar state laws with

 an “extraterritorial effect.” Id. at 155-56. While NSSF claims that Act 28 imposes

 “extreme burdens” on interstate commerce, Mot. at 20, its motion is entirely devoid

 of evidence to support that assertion. Nor is NSSF entitled to a preliminary

 injunction with respect to its First Amendment claim. Act 28’s marketing provisions

 regulate “commercial speech related to illegal activity,” which receives no

 constitutional protection. See Central Hudson Gas & Electric Corp. v. Public

 Service Commission of New York, 447 U.S. 557, 563-64 (1980).

       NSSF’s void-for-vagueness claim is also without merit. “[E]conomic

 regulation is subject to a less strict vagueness test,” Vill. of Hoffman Ests. v. Flipside,

 Hoffman Ests., Inc., 455 U.S. 489, 498-99 (1982), and although NSSF takes issue

 with Act 28’s use of the term “reasonable,” “[m]any standards in the law are no more

 definite than a requirement of ‘reasonableness,’” Wm. Penn Parking Garage, Inc. v.


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 City of Pittsburgh, 346 A.2d 269, 292 (Pa. 1975), and are not unconstitutionally

 vague as a result. NSSF v. James, 604 F. Supp. 3d 48, 65-67 (N.D.N.Y. 2022).

 NSSF’s motion should be denied.

                                 BACKGROUND

       Gun violence is an epidemic. However, the gun industry has tools that it can

 employ to minimize the devastation that gun violence causes. See Declaration of

 Gregory Gundlach at ¶¶ 26-43 (“Gundlach Decl.”). One of these tools is the

 implementation of industry controls to prevent the diversion of firearms into the

 hands of individuals who should not have them, such as straw-purchasers, gun

 traffickers, and other prohibited possessors. Id. ¶¶ 31-37. Research, industry

 experience, and NSSF’s own programs show that such measures can reduce gun

 violence. Id. ¶¶ 69-93.

       To this end, the Hawaiʻi Legislature passed Act 28, effective July 1, 2023, to

 set certain baseline requirements for how “firearm industry member[s]” should

 manufacture, distribute, import, market or sell “firearm related products.” HRS

 § 134-A. A “firearm industry product” is “a firearm, ammunition, a firearm

 precursor part, a firearm component, or a firearm accessory that meets any of the

 following conditions”:

       (1) The item is sold, made or distributed in [Hawai‘i];
       (2) The item is intended to be sold or distributed in [Hawai‘i]; or
       (3) The item is or was possessed in [Hawai‘i] and it was reasonably
           foreseeable that the item would be possessed in [Hawai‘i].

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 Id.

        Act 28 operates in two primary ways. First, firearm industry members must

 “[e]stablish, implement, and enforce reasonable controls.” Id. § 134-B(b)(1).

 “Reasonable controls” are defined as “reasonable procedures, acts, or practices that

 are designed, implemented, and enforced to do the following” three things:

        (1) “Prevent the sale or distribution of a firearm-related product to a straw
            purchaser, a firearm trafficker,” a person otherwise prohibited from
            possessing a gun under federal or state law, or a person who the firearm
            industry member believes is at risk of hurting himself or others.
        (2) “Prevent the loss or theft of a firearm-related product from the firearm
            industry member.”
        (3) Ensure compliance with federal and state law and prevent a firearms
            industry member from “promot[ing] the unlawful manufacture, sale,
            possession, marketing, or use of a firearm-related product.”

 Id. § 134-A.1

        Second, firearm industry members must “[t]ake reasonable precautions to

 ensure that [they] do[] not sell, distribute, or provide to a downstream distributor a

 firearm-related product that is abnormally dangerous and likely to create an

 unreasonable risk of harm to public health and safety in the State.” Id. § 134-B(b)(2).

 A firearm-related product is presumed 2 abnormally dangerous if:

 1
     These will be referred to as the “Reasonable Controls Provisions.”
 2
   While NSSF suggests that this provision creates an irrebuttable presumption, see
 Mot. at 8, that is incorrect. Under Hawai‘i law, presumptions are rebuttable unless
 otherwise specified. See HRS § 626-1, Rule 302 Commentary; In re Sherretz, 40
 Haw. 366, 371 (1953) (“There is no magic in the words ‘presume’ . . . used in the
 statute. The word ‘presume’ is to take to be true an inference as to the existence of
 one fact not certainly known, from known or proved existence of another fact. It is

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       (1) its “features render the product most suitable for assaultive purposes
           instead of lawful self-defense, hunting, or other legitimate sport and
           recreational activities”;
       (2) it “is designed, sold, or marketed in a manner that foreseeably promotes”
           its conversion into an illegal product; or
       (3) it “is designed, sold, or marketed in a manner that is targeted at minors or
           other individuals who are legally prohibited from accessing firearms.”

 Id. § 134-B(d). A firearm is not abnormally dangerous, however, based on its

 “inherent capacity to cause injury or lethal harm.” Id. § 134-B(c). 3

       A violation of Act 28’s provisions gives rise to a cause of action for damages,

 fees, or injunctive relief. Id. § 134-C(a), (d). It may be enforced by the Attorney

 General, local government officials, or private individuals who have been harmed.

 Id. § 134-C(b)-(c). No party has yet brought any civil action under Act 28. 4

       NSSF’s complaint, filed on July 12, 2023, alleges that Act 28 is unlawful in

 its entirety. ECF No. 1 (“Compl.”). On July 17, NSSF filed a motion for a

 preliminary injunction. ECF No. 13 (“Mot.”). The motion is supported by two

 declarations from gun manufacturers. See ECF No. 13-2, Decl. of Kevin B. Reid

 (“Ruger Decl.”); ECF No. 13-3, Decl. of Susan Cupero (“S&W Decl.”). This is the


 a substitute for evidence. The words ‘conclusive presumption’ give rise to a legal
 presumption of law that may not be rebutted.”).
 3
   These will be referred to as the “Abnormally Dangerous Provisions.” Act 28 also
 prohibits engaging “in any conduct related to the sale or marketing of firearm-related
 products that is in violation of this chapter.” HRS §134-B(b)(3).
 4
  Act 28 provides that it shall be “construed and applied in a manner that is consistent
 with the requirements of the United States Constitution and the Hawaii State
 Constitution.” HRS § 134-D(c). It also contains a severability provision.

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 sixth lawsuit NSSF has filed challenging similar laws.5 NSSF has claimed in the

 preceding cases that its members have no choice but to shut down or face substantial

 liability if these laws are not enjoined. Declaration of Ryan Gerber at ¶¶ 3-7 (“Gerber

 Decl.”).

                                      STANDARD

        “A preliminary injunction is an extraordinary remedy never awarded as of

 right.” Grandinetti v. Wes Mun, Civ. No. 17-00215 DKW-KJM, 2017 WL 2312474,

 at *2 (D. Haw. May 26, 2017) (quoting Winter v. NRDC, 555 U.S. 7, 24 (2008)). To

 obtain a preliminary injunction, a plaintiff must establish “[1] that he is likely to

 succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence

 of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an

 injunction is in the public interest.” Id. (quoting Winter, 555 U.S. at 20). “When the

 government is a party, the[] last two factors merge.” Drakes Bay Oyster Co. v.

 Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014).


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   The others are in New York, New Jersey, Delaware, Washington, and California
 (a seventh has since been filed in Illinois). In New Jersey and Delaware, NSSF’s
 lawsuits were dismissed for lack of standing. New Jersey, 80 F.4th at 223; NSSF v.
 Jennings, Case No. 22-cv-1499, 2023 WL 5835812 (D. Del. Sept. 8, 2023). In New
 York, where standing arguments were not raised, NSSF’s case was dismissed on a
 12(b)(6) motion and the case is currently on appeal. See NSSF v. James, 604 F. Supp.
 3d 48. In Washington, California, and Illinois, preliminary injunction motions are
 currently pending. NSSF v. Bonta, 3:23-cv-00945-AGS-KSC (S.D. Cal. filed May
 23, 2023); NSSF v. Ferguson, 2:23-cv-00113-MKD (E.D. Wash. filed April 25,
 2023); NSSF v. Raoul, 3:23-cv-02791 (S.D. Ill. filed Aug. 14, 2023).


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                                     ARGUMENT

 I.    NSSF Lacks Standing and the Case is Not Ripe.

       As a threshold matter, NSSF is not entitled to a preliminary injunction because

 NSSF cannot establish that it has standing to assert its claims. NSSF identifies only

 a non-specific and speculative injury, and asks this Court for an advisory opinion in

 a dispute that is not ripe. Article III demands more.

       A plaintiff must show three elements to establish Article III standing: (1) an

 injury that is “concrete and particularized” and either “actual or imminent”; (2) that

 the injury is “fairly traceable to the challenged action of the defendant”; and (3) that

 the injury will likely be “redressed by a favorable decision.” Lujan v. Defs. of

 Wildlife, 504 U.S. 555, 560-61 (1992) (cleaned up). As “[t]he party invoking federal

 jurisdiction,” NSSF “bears the burden of establishing these elements.” Id. at 561.

 “The constitutional component of the ripeness inquiry is often treated under the

 rubric of standing and . . . in measuring whether the litigant has asserted an injury

 that is real and concrete rather than speculative and hypothetical, the ripeness inquiry

 merges almost completely with standing.” Thomas v. Anchorage Equal Rts.

 Comm’n, 220 F.3d 1134, 1138-39 (9th Cir. 2000) (en banc) (citation omitted).

       “Pre-enforcement challenges are unusual. To bring one, the plaintiff must

 show that the stakes are high and close at hand.” New Jersey, 80 F.4th at 223. A

 plaintiff must demonstrate “an intention to engage in a course of conduct arguably



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 affected with a constitutional interest, but proscribed by a statute, and there exists a

 credible threat of prosecution thereunder.” Susan B. Anthony List v. Driehaus, 573

 U.S. 149, 159 (2014). The Ninth Circuit applies a three-part test in the pre-

 enforcement context: (1) “whether the plaintiffs have articulated a ‘concrete plan’ to

 violate the law in question,” (2) “whether the prosecuting authorities have

 communicated a specific warning or threat to initiate proceedings,” and (3) “the

 history of past prosecution or enforcement under the challenged statute.” Thomas,

 220 F.3d at 1139 (citation omitted). Civil statutes are particularly unlikely to warrant

 pre-enforcement review, since “the same arguments made in pre-enforcement

 challenges can be raised as affirmative defenses later.” New Jersey, 80 F.4th at 223

 (“A brand-new civil tort statute, without more, does not justify a federal court’s

 intervention.”).

       Two additional principles bear note. First, “a plaintiff must demonstrate

 standing for each claim he seeks to press.” DaimlerChrysler Corp. v. Cuno, 547 U.S.

 332, 351-52 (2006). As part of this principle, a plaintiff must have standing to

 challenge each separate provision of a law independently. Davis v. FEC, 554 U.S.

 724, 733-34 (2008). Second, to obtain associational standing, an entity like NSSF

 must show, among other things, that “at least one of its members would have

 standing to sue in his own right[.]” Fleck & Assocs., Inc. v. City of Phoenix, 471 F.3d

 1100, 1105 (9th Cir. 2006).


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       A.     NSSF has not identified any conduct that is proscribed by Act 28
              in which it or its members are engaged or wish to engage.

       The gravamen of NSSF’s claim to standing is that its members will either face

 the prospect of “sweeping liability under [Act 28],” Compl. ¶ 11, or be forced to

 cease operations. Ruger Decl. ¶¶ 10, 14, 16; S&W Decl. ¶¶ 10, 14, 17. However,

 NSSF does not point to any specific conduct that its members engage in that would

 lead to liability under Act 28. Thus, NSSF “utterly lacks, let alone states ‘with some

 degree of concrete detail,’ an allegation that [it] ‘intend[s] to violate’” Act 28.

 Unified Data Servs., LLC v. FTC, 39 F.4th 1200, 1210 (9th Cir. 2022).

       Take the Reasonable Controls Provisions. These provisions require gun

 companies to implement reasonable controls designed to prevent the diversion of

 firearms to prohibited individuals, prevent the loss or theft of firearms, and otherwise

 ensure compliance with federal and state law. HRS §§ 134-A; 134-B(b)(1). NSSF

 provides no evidence that: (1) its members do not have, or refuse to implement, any

 such controls; (2) have been threatened with enforcement of Act 28 for failure to

 have such controls; or (3) have had to change their business in any way as a result

 of Act 28. NSSF offers nothing more than their declarants’ complaint that they are

 “unable to determine” what will be deemed “reasonable.” S&W Decl. ¶ 11; Ruger

 Decl. ¶ 11. That is not sufficient to maintain a pre-enforcement challenge. If it were,

 anyone would be able to challenge any of the vast number of civil or criminal statutes

 that contain “reasonableness” standards.


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       Unified Data Services is instructive. There, plaintiffs challenged an FTC letter

 ruling restricting soundboard technology. 39 F.4th at 1210-11. Plaintiffs claimed that

 the industry was “whipsawed between abandoning its business . . . and facing

 potentially ruinous enforcement actions and penalties,” but they did not explain

 “‘when, to whom, where, or under what circumstances’ they would use soundboard

 technology but for the challenged policies.” Id. at 1211 (citation omitted). The Ninth

 Circuit held that the complaint “utterly lack[ed]” the concrete detail required for

 Article III standing. Id. at 1210. The same is true here.

       In NSSF’s New Jersey case, NSSF claimed that the law “chills its members’

 manufacturing, marketing, and sales” of firearms. 80 F.4th at 220. There, as here,

 NSSF did not make specific allegations about what conduct it intended to engage in

 that was proscribed. Id. The Third Circuit could only “infer [] that its members plan

 to make, market, and sell guns[.]” Id. And these “generalized allegations [were]

 insufficient to satisfy Article III’s requirements.” Id. (citations omitted). There is no

 basis to depart here from the well-reasoned approach taken in New Jersey. See

 Padilla-Ramirez v. Bible, 882 F.3d 826, 836 (9th Cir. 2017) (“As a general rule, we

 decline to create a circuit split unless there is a compelling reason to do so.” (citations

 omitted)).6


 6
  To be sure, there are differences between the statutes in this case and New Jersey,
 but they do not alter the analysis. Regarding the Abnormally Dangerous Provisions,
 NSSF’s declarants assert that they are “unable to determine” what weapons are

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       NSSF may claim that it has standing to challenge the provision of Act 28 that

 creates a presumption that a product is “abnormally dangerous” if it is “designed,

 sold, or marketed in a manner that is targeted at minors.” HRS § 134-B(b)(2), (d)(3).

 Smith & Wesson states that it manufactures “youth-model” firearms, which are

 designed “in a manner that is targeted at minors.” S&W Decl. ¶ 15. Ruger similarly

 says it manufactures firearms that are “suitable for use by individuals with smaller

 hands/bodies and/or less grip strength, which conceivably could include minors[.]”

 Ruger Decl. ¶ 15. But even here, NSSF again fails to make a record other than these

 passing assertions. NSSF does not state which guns it considers “youth-model” or

 that these guns are sold into or regularly used in Hawai‘i.

       B.     NSSF’s fear of enforcement is highly speculative and contingent
              on the behavior of parties not before this Court.
       A party may challenge a law before enforcement only if “there exists a

 credible threat of prosecution” under the law. Driehaus, 573 U.S. at 159. Here, “the

 record is devoid of any threat—generalized or specific—directed toward” NSSF

 members. Thomas, 220 F.3d at 1140. NSSF’s doomsday forecasting of “sweeping

 liability” is made “without any indication that such [liability is] imminent or

 realistic.” Unified Data Servs., 39 F.4th at 1211. NSSF’s “highly speculative fear”



 “abnormally dangerous.” S&W Decl. ¶ 17; Ruger Decl. ¶ 12. These generalized
 assertions suffer from the same flaws as NSSF’s claim in New Jersey. Namely,
 NSSF does not point to any specific firearm or product that it manufactures or sells
 into Hawai‘i that it fears could lead to liability under Act 28.

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 appears to be largely based on the supposition that numerous parties will sue under

 Act 28—which is insufficient to confer standing. Clapper v. Amnesty Int’l USA, 568

 U.S. 398, 410-11 (2013); see also Temple v. Abercrombie, 903 F. Supp. 2d 1024,

 1034 (D. Haw. 2012) (“[A] genuine threat of enforcement (by a private party) against

 Plaintiffs would be contingent on several events beyond Plaintiffs’ control[.]”). 7

       NSSF itself demonstrates the speculative nature of its claim by concocting

 hypotheticals that may never happen nor lead to liability under Act 28. Take this

 example from NSSF’s brief: “if [a] firearm produced by a manufacturer in Ohio is

 one day criminally misused in Hawaii, a Hawaii judge could hold that Ohio-based

 manufacturer liable for us[ing] too lax of security measures at its Ohio plants—even

 if the manufacturer never sold the firearm to anyone in Hawaii, and even if it

 employed every security measure that Ohio and Congress imposed.” Mot. at 18

 (emphases added). This hypothetical—contingent upon three “if” statements—is



 7
   NSSF may cite Teter v. Lopez, 76 F.4th 938 (9th Cir. 2023), pet. for reh’g en banc
 filed, No. 20-15948, Dkt. 135 (9th Cir. Sept. 20, 2023), for the proposition that a
 plaintiff need not “always prove ‘a specific warning or threat to initiate
 proceedings[.]’” Id. at 946. But that is immaterial here. In Teter, the plaintiffs
 challenged Hawai‘i’s butterfly knife law and declared that they (1) previously owned
 butterfly knives; (2) disposed of them in response to Hawai‘i’s law; and (3) would
 purchase a replacement if the law were not in place. Id. Based on these claims about
 how the plaintiffs changed their conduct, the court did not require a “specific
 warning or threat.” Id. Here, NSSF does not claim that it or its members have
 changed any conduct and instead raises the vague specter of civil liability for conduct
 that it does not specify. In the absence of stating a concrete plan to violate the law,
 NSSF’s inability to show a threat of enforcement is fatal.

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 based on a misreading of the Hawai‘i law and other safeguards built into the

 American legal system. For one, Act 28 only provides for liability based on out-of-

 state conduct if “it was reasonably foreseeable that the item would be possessed in

 the State.” HRS § 134-A. And, of course, a court must have personal jurisdiction

 over a party for a suit to proceed. NSSF’s outlandish hypotheticals merely

 demonstrate the premature nature of this suit.

       This case is also not prudentially ripe. “The two guiding considerations for

 prudential ripeness are ‘the fitness of the issues for judicial decision and the hardship

 to the parties of withholding court consideration.’” Tingley v. Ferguson, 47 F.4th

 1055, 1070 (9th Cir. 2022) (quoting Thomas, 220 F.3d at 1141). NSSF’s lawsuit fails

 under the fitness prong because it “rests upon hypothetical situations[.]” Thomas,

 220 F.3d at 1142. And NSSF will not suffer hardship because the “absence of any

 real or imminent threat of enforcement, particularly criminal enforcement, seriously

 undermines any claim of hardship.” Id. 8

       Finally, there is no history of past enforcement of Act 28. All NSSF can

 conjure is that some of its members have been sued by cities in New York under a


 8
   Act 28’s private right of action does not alter this analysis. See NSSF v. Jennings,
 Case No. 22-1499-RGA, 2023 WL 5835812, at *2 (D. Del. Sept. 8, 2023) (holding
 that NSSF lacked standing to challenge Delaware’s industry accountability law,
 even though it included a private right of action). As in Jennings, NSSF here “has
 not pointed to any lawsuit filed or threatened by a private party.” Id. Moreover, any
 “harm” potentially caused by a private plaintiff’s suit would not be traceable to the
 Attorney General. Cf. Temple, 903 F. Supp. 2d at 1035.

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 different statute. Ruger Decl. ¶ 18; S&W Decl. ¶ 18. “But a city’s decision to sue

 under another state’s law tells us nothing about the [Hawai‘i] Attorney General’s

 plans.” New Jersey, 2023 WL 5286171, at *5.

 II.   NSSF is Not Likely to Succeed on the Merits.

       A.     Act 28 does not violate the Second Amendment.
              1.    Controlling Ninth Circuit authority precludes any direct
                    Second Amendment claim by NSSF and its members.

       NSSF argues that Act 28 violates the Second Amendment because the law

 “forbids firearm industry members from manufacturing, making, or selling” certain

 firearms and related products. Mot. at 10. But, as controlling Ninth Circuit authority

 makes clear, there is no Second Amendment right to engage in these activities. In

 Teixeira, the en banc Ninth Circuit held, based on text and history, that “the Second

 Amendment does not independently protect a proprietor’s right to sell firearms.”

 Teixeira v. Cnty. of Alameda, 873 F.3d 670, 690 (9th Cir. 2017). The same is true

 for any asserted right to manufacture guns. Id. at 690 n.24; see also Def. Distributed

 v. Bonta, No. 2:22-cv-6200, 2022 WL 15524977, at *4 (C.D. Cal. Oct. 21, 2022)

 (Second Amendment’s plain text “quite-clearly” does not include an “implicit[]”

 right to “manufacture firearms”), adopted by 2022 WL 15524983 (C.D. Cal. Oct.

 24, 2022); United States v. Tilotta, No. 3:19-cr-04768-GPC, 2022 WL 3924282, at

 *5 (S.D. Cal. Aug. 30, 2022) (“The plain text of the Second Amendment does not

 cover [the] proposed course of conduct to commercially sell and transfer


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 firearms[.]”). NSSF and its members—which are alleged to include “manufacturers,

 distributors, and retailers of firearms,” Compl. ¶ 11—thus cannot state a direct

 Second Amendment claim, let alone establish a likelihood of success on the merits.

              2.    NSSF fails to establish derivative standing on behalf of its
                    members’ individual customers.

       NSSF also suggests that Act 28 implicates an individual’s right to “acquire

 arms.” See Mot. at 6, 9. But it has fallen far short of establishing the derivative

 associational standing it would need to bring a Second Amendment claim on behalf

 of its members’ customers or other individuals seeking to exercise that “subsidiary”

 or “ancillary” right under the Second Amendment. Teixeira, 873 F.3d at 677-78.

       Unlike the plaintiff in Teixeira, NSSF itself is not a gun seller and has no

 customers; it is a trade association. Compl. ¶ 11. NSSF’s members are alleged to

 include “retailers of firearms,” but none are identified. Id. Smith & Wesson and

 Ruger are not firearm retailers, but manufacturers without any operations in Hawai‘i

 and which do not sell firearms directly to individuals in Hawai‘i. Ruger Decl. ¶¶ 7-

 8; S&W Decl. ¶ 7. And nowhere in NSSF’s submissions is there mention of any

 actual individual customers or “would-be customers,” Teixeira, 873 F.3d at 678, or

 of any relationship such customers have with NSSF or any member of NSSF that

 actually sells firearms. The lack of any such evidence precludes derivative standing

 here. See, e.g., Fleck & Assocs. v. City of Phoenix, 471 F.3d 1100, 1105 n.3 (9th Cir.

 2006) (stating that, given the inadequate allegations in the complaint, a plaintiff


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 business entity “could not rely on the interests of its customers” for derivative

 standing).

              3.    Any derivative Second Amendment claim NSSF might bring
                    on behalf of individual customers fails on the merits.
          Even if NSSF could bring a derivative Second Amendment challenge to

 Act 28 on behalf of individual customers, that challenge would fail for two

 independent reasons. First, NSSF has not satisfied the rigorous standard governing

 facial constitutional challenges. NSSF seeks to enjoin the entirety of Act 28, see

 Mot. at 3; Compl. at 59-60, but a facial constitutional claim is “the most difficult

 challenge to mount successfully, since the challenger must establish that no set of

 circumstances exists under which the Act would be valid,” Salerno, 481 U.S. at

 745, or “show that the law lacks ‘a plainly legitimate sweep,’” Ams. for Prosperity

 Found. v. Bonta, 141 S. Ct. 2373, 2383 (2021). NSSF’s “‘hypothetical’ or

 ‘imaginary’ cases” where Act 28 might be enforced in a way that violates the

 Second Amendment simply do not suffice. Wash. State Grange v. Wash. State

 Republican Party, 552 U.S. 442, 450 (2008).

       Act 28, in fact, has numerous applications that NSSF does not dispute are

 lawful and comport with the Second Amendment—including restrictions on the

 marketing and sale of automatic firearms, and on the marketing and sale of weapons

 to straw purchasers and illegal firearms traffickers. Thus, because Act 28 “can be

 constitutionally applied in many cases, [NSSF]’s facial challenge must fail.” United


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 States v. Kaczynski, 551 F.3d 1120, 1125 (9th Cir. 2009); see also, e.g., Cal. Rifle &

 Pistol Ass’n v. City of Glendale, 644 F. Supp. 3d 610, 619-20 (C.D. Cal. 2022)

 (finding that facial challenge to ordinance prohibiting firearms on city property

 failed because it was undisputed that firearms could be prohibited “on at least some

 city property,” so the ordinance was not “unconstitutional in all its applications”). 9

       Second, even without this insurmountable facial-challenge barrier, NSSF’s

 claim would still fail on the merits. Under Bruen, a plaintiff must demonstrate that

 the Second Amendment’s plain text covers the plaintiff’s conduct. 142 S. Ct. at

 2129-30. Only then must “[t]he government . . . justify its regulation by

 demonstrating that it is consistent with the Nation’s historical tradition of firearm

 regulation.” Id. at 2130. Here, NSSF fails to satisfy the initial, plain text inquiry.

       NSSF contends that Act 28 violates the Second Amendment because the law’s

 Abnormally Dangerous Provisions prohibit firearms and related products that are “in



 9
   NSSF has suggested in a similar California challenge that the recent decision in
 New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022), somehow
 requires a different facial-challenge analysis for Second Amendment cases. But that
 is not so. See, e.g., United States v. Libertad, No. 1:22-cr-644, --- F. Supp. 3d ----,
 2023 WL 4378863, at *5 (S.D.N.Y. July 7, 2023) (post-Bruen facial Second
 Amendment challenge fails where it is based on “mere speculation” that a law might
 operate unconstitutionally “under certain circumstances”), appeal docketed, No. 23-
 6910 (2d Cir. Aug. 11, 2023); see also, e.g., Nat’l Ass’n for Gun Rights. v. Lamont,
 No. 3:22-cv-1118, --- F. Supp. 3d ----, 2023 WL 4975979, at *6-7 (D. Conn. Aug.
 3, 2023) (applying Salerno to law prohibiting assault weapons and large-capacity
 magazines), appeal docketed, No. 23-1162 (2d Cir. Aug. 16, 2023).


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 common use today,” which, according to NSSF, simply “cannot be banned.” Mot.

 at 1, 10. But that is the wrong analysis. Under Bruen, the Second Amendment covers

 only weapons “‘in common use’ today for self-defense,” such as “the quintessential

 self-defense weapon,” the handgun. Bruen, 142 S. Ct. at 2134 (emphasis added)

 (citation omitted); see United States v. Alaniz, 69 F.4th 1124, 1128 (9th Cir. 2023)

 (“Bruen step one involves a threshold inquiry,” including whether “the weapon at

 issue is in ‘common use’ for self-defense.” (citation omitted)).10

       Act 28, by contrast, creates civil liability for the sale and distribution of only

 “abnormally dangerous” firearms and related products, which the statute presumes

 are those weapons whose “features render [them] most suitable for assaultive

 purposes instead of lawful self-defense,” HRS § 134-B(d)(1) (emphasis added), or

 those that may be readily converted into illegal models or targeted to “minors or

 other individuals who are legally prohibited from accessing firearms,” id. § 134-

 B(d)(2)-(3). NSSF—which bears the burden on the textual question, see, e.g., Nat’l

 Ass’n for Gun Rts., 2023 WL 4975979, at *15—fails to identify even a single firearm




 10
    Teter, 76 F.4th 938, has not changed the textual and “common use” analyses in
 the Ninth Circuit. It cannot overrule the binding authority of Bruen and Alaniz, see,
 e.g., Hart v. Massanari, 266 F.3d 1155, 1171 (9th Cir. 2001), and, in any event, with
 a petition for rehearing en banc pending, Teter is not yet “final” or “settled Ninth
 Circuit law.” Carver v. Lehman, 558 F.3d 869, 878 & n.16 (9th Cir. 2009).

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 or related product that is in common use for self-defense today that Act 28 prohibits.

 That failure alone defeats any Second Amendment claim. 11

       Moreover, even if NSSF had satisfied its textual burden, that would merely

 shift the burden to the government to demonstrate that the Abnormally Dangerous

 Provisions are “consistent with the Nation’s historical tradition of firearm

 regulation.” Bruen, 142 S. Ct. at 2130. And, as several courts since Bruen have

 concluded, there is a well-founded “history and tradition of regulating uniquely

 dangerous features of weapons and firearms to protect public safety.” Or. Firearms

 Fed’n v. Kotek, No. 2:22-cv-01815, --- F. Supp. 3d ----, 2023 WL 4541027, at *55

 (D. Or. July 14, 2023), appeals docketed, Nos. 23-35478, 23-35479, 23-35539 &

 23-35540 (9th Cir.).12 This history is in accord with the Supreme Court’s

 pronouncement that “dangerous and unusual weapons” may be prohibited. District

 of Columbia v. Heller, 554 U.S. 570, 627 (2008); see Bruen, 142 S. Ct. at 2143.




 11
   Nor does the Second Amendment protect accessories or devices that could convert
 a firearm into an illegal product. See, e.g., Cox v. United States, No. 3:11-cr-00022,
 2023 WL 4203261, at *7-8 (D. Alaska June 27, 2023) (noting that silencers are not
 protected by the Second Amendment). And NSSF correctly does not even contend
 that the Second Amendment covers those under 18. See Worth v. Harrington, No.
 21-cv-1348, --- F. Supp. 3d ----, 2023 WL 2745673, at *8 (D. Minn. Mar. 31, 2023)
 (noting that “[n]o court has read the Second Amendment to cover those under the
 age of 18”), appeal docketed, No. 23-2248 (8th Cir. May 22, 2023).
  See also Grant v. Lamont, No. 3:22-cv-01223, 2023 WL 5533522, at *6 (D. Conn.
 12

 Aug. 28, 2023) (citing cases), appeal docketed, No. 23-1344 (2d Cir. Sept. 28, 2023).

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       NSSF’s remaining Second Amendment argument fails as well. It appears to

 suggest that the Reasonable Controls Provisions are unconstitutional because they

 “saddle licensed industry members with the costs of harms created by criminals.”

 Mot. at 12. But because NSSF does not allege or offer evidence of any effect the law

 might have on law-abiding citizens’ ability to acquire firearms, it “cannot possibly

 state a claim for relief under the Second Amendment.” Teixeira, 873 F.3d at 673,

 677-79. This is consistent with the Supreme Court’s many assurances that “laws

 imposing conditions and qualifications on the commercial sale of arms” are

 “presumptively lawful regulatory measures.” Heller, 554 U.S. at 627 & n.26; Bruen,

 142 S. Ct. at 2162 (Kavanaugh, J., concurring). And, contrary to NSSF’s assertions,

 see Mot. at 12, commercial restrictions on firearm sales are historically rooted. See

 Teixeira, 873 F.3d at 683-87 (surveying the history and explaining “colonial

 governments substantially controlled the firearms trade”).

       B.     Act 28 is not preempted by PLCAA, and NSSF does not have a
              cause of action to enforce PLCAA in any event.

       NSSF’s preemption claim fares no better. PLCAA explicitly allows lawsuits

 based on violations of state statutes applicable to the sale and marketing of firearms.

 And in any case, PLCAA cannot be used to affirmatively challenge a statute since it

 does not create a private right of action. See 15 U.S.C. § 7903(5)(C).




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              1.        PLCAA’s statutory terms.

       PLCAA was passed to protect gun companies from certain lawsuits

 attempting to hold them liable for the misuse of their products by third parties. See

 Ileto v. Glock, Inc., 565 F.3d 1126, 1129 (9th Cir. 2009). It provides that “[a]

 qualified civil liability action may not be brought in any Federal or State court.” 15

 U.S.C. § 7902(a). A “qualified civil liability action” is:

       a civil action . . . brought by any person against a manufacturer or seller
       of a qualified product . . . for damages . . . or other relief, resulting from
       the criminal or unlawful misuse of a qualified product by the person or
       a third party . . . .

 Id. § 7903(5)(A). 13

       PLCAA has six exceptions. Id. § 7903(5)(A)(i)-(vi). The relevant exception

 here is the third exception—the “predicate exception”—which permits an otherwise

 covered action to proceed where the defendant has:

       knowingly violated a State or Federal statute applicable to the sale or
       marketing of the product, and the violation was a proximate cause of
       the harm for which relief is sought[.]

 15 U.S.C. § 7903(5)(A)(iii); see also Ileto, 565 F.3d at 1132.

              2.        PLCAA does not preempt Act 28.

       The text of PLCAA makes clear that lawsuits premised on knowing violations

 of Act 28 are exempted from PLCAA’s scope. PLCAA expressly permits “an action


 13
   In relevant part, a “qualified product” is a firearm or ammunition, or component
 thereof.” Id. § 7903(4).

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 in which a manufacturer or seller of a qualified product knowingly violated a State

 or Federal statute applicable to the sale or marketing of the product[.]” 15 U.S.C. §

 7903(5)(A)(iii) (emphases added). Act 28 is precisely such a statute.

       After PLCAA’s passage, courts initially struggled with exactly what the

 phrase “applicable to the sale or marketing” of firearms meant. See e.g., Ileto, 565

 F.3d at 1133-38; City of New York v. Beretta U.S.A. Corp., 524 F.3d 384, 399-404

 (2d Cir. 2008). The debate focused on whether any statute “capable of being applied”

 to the firearms industry qualified as a “predicate statute” or whether the statute had

 to explicitly refer to firearm sales and marketing. Id. But under any commonly

 accepted definition of “applicable,” Act 28 is a statute “applicable to the sale and

 marketing” of firearms. See NSSF v. James, 604 F. Supp. 3d 48, 59 (N.D.N.Y. 2022)

 (“No reasonable interpretation of ‘applicable to’ can exclude a statute which imposes

 liability exclusively on gun manufacturers for the manner in which guns are

 manufactured, marketed, and sold.”).

       NSSF’s arguments to the contrary are based on an interpretation of PLCAA

 completely unmoored from the operative statutory text. It argues that a qualifying

 predicate statute must provide “clear rules” or “clear legal obligations.” Mot. at 13-

 14.14 But this requirement is found nowhere in PLCAA’s text, and courts will not


 14
   NSSF v. Platkin, No. CV226646(ZNQ)(TJB), 2023 WL 1380388, (D.N.J. Jan. 31,
 2023), which NSSF relies on for this proposition, has been vacated by the Third
 Circuit and is no longer good law. New Jersey, 80 F.4th at 21.

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 find a state law preempted “unless ‘that [i]s the clear and manifest purpose of

 Congress.’” In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prods. Liab.

 Litig., 959 F.3d 1201, 1212 (9th Cir. 2020) (quoting Wyeth v. Levine, 555 U.S. 555,

 565 (2009)). In express-preemption cases, courts focus on the statute’s “plain

 wording,” which “necessarily contains the best evidence of Congress’[s] preemptive

 intent.” Jones v. Google LLC, 73 F.4th 636, 641 (9th Cir. 2022) (citation omitted).

       NSSF complains of Act 28’s requirement that gun-industry members

 implement “reasonable” controls or precautions, see Mot. at 14-15, but the drafters

 of PLCAA had no issue allowing a judge or jury to determine what is “reasonable”;

 the term “reasonable” or “reasonably” is used in three different exceptions, including

 the predicate exception. See 15 U.S.C. § 7903(5)(A)(iii)(II) (providing an example

 of a permissible lawsuit based on a predicate statute where the gun industry

 defendant sells a firearm, “knowing, or having reasonable cause to believe,” that the

 buyer was prohibited); see also id. §§ 7903(5)(A)(ii),(v); 7903(5)(B).

       NSSF’s reliance on Ileto is misplaced. In Ileto, the plaintiffs argued that

 “California’s general tort law”—namely, the torts of negligence and nuisance

 codified in California’s civil code—could serve as predicate statutes. 565 F.3d at

 1132–33. The court rejected this argument, pointing out that such a broad reading of

 “applicable to” would let the exception swallow the rule. Id. at 1134-35. The court

 ultimately found it “more likely that Congress had in mind only . . . statutes that


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 regulate manufacturing, importing, selling, marketing, and using firearms or that

 regulate the firearms industry—rather than general tort theories that happened to

 have been codified by a given jurisdiction.” Id. at 1136 (emphases added). It was in

 this context—a concern over “ordinary common-law claims” not directed

 specifically at the firearms industry—that Ileto stated “that ‘judicial evolution’ was

 precisely the target of the PLCAA.” Id.

        NSSF also argues that Act 28 does not meet the predicate exception’s

 knowledge and proximate cause requirements. But it is not the underlying statute

 that must meet those requirements; it is the “action.” 15 U.S.C. § 7903(5)(A)(iii). In

 other words, in a future case where a plaintiff relies on Act 28 as a predicate, the

 plaintiff will have to prove that the Act 28 violation was knowing and was a

 proximate cause of the harm. That Act 28 includes a reasonableness standard does

 not change the analysis. It is not unusual for a knowing violation to include a

 reasonableness standard. See, e.g., Ellis v. Johnson, No. EDCV 13-1318-VAP KK,

 2015 WL 135893, at *8 (C.D. Cal. Jan. 7, 2015) (“[I]n California, a parent or person

 owing a common law duty to protect a child can be guilty as an aider and abettor to

 crimes arising out of child abuse if they ‘knowingly fail[ed] to take reasonable steps

 to stop an attack . . . [on the] child.” (alterations in original)).

        Act 28 also does not “discard[] proximate cause.” Mot. at 16. Instead, it states

 that “[a]n intervening act by a third party, including but not limited to criminal use


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 of a firearm-related product, shall not preclude a firearm industry member from

 liability under this part.” HRS § 134-C(g). This is consistent with the law of

 proximate causation in Hawaiʻi, which uses foreseeability as the touchstone of the

 inquiry. See Knodle v. Waikiki Gateway Hotel, Inc., 69 Haw. 376, 393, 742 P.2d

 377, 388 (1987) (“George Murphy’s independent acts could not have superseded or

 excused the defendants’ negligence if such acts were reasonably foreseeable.”). And

 in any event, to get through PLCAA, a plaintiff will still have to meet PLCAA’s

 proximate-cause requirement.

       Finally, NSSF argues that PLCAA’s enumerated findings show that it meant

 to preempt statutes like Act 28. But the “prefatory clauses” NSSF cites “cannot

 change the scope of the operative clause.” Kingdomware Techs. v. United States,

 579 U.S. 162, 173 (2016); see also Delana v. CED Sales, Inc., 486 S.W.3d 316, 322

 (Mo. 2016) (“The general statement of purpose of the PLCAA does not redefine the

 plain language of a statute.”). The tension that NSSF attempts to create between

 PLCAA’s goals and Act 28 is illusory. PLCAA bars liability “for the harm solely

 caused by the criminal or unlawful misuse of firearm products . . . by others.” 15

 U.S.C. § 7901(b)(1). This is consistent with Act 28, which creates liability only for

 a firearm-industry member’s own misconduct.15


 15
    It is also important to note that PLCAA does not cover all “firearm industry
 members” covered by Act 28, but only “manufacturer[s]” and “seller[s]” that are
 federally licensed under the Gun Control Act (with the exception of ammunition

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              3.     NSSF lacks a cause of action to pursue its PLCAA
                     preemption claim.

       NSSF lacks a cause of action to bring its preemption claim in any event.

 Although NSSF appears to base its preemption claim on the Supremacy Clause, see

 Compl. ¶ 71, “the Supremacy Clause is not the ‘source of any federal rights,’ and

 certainly does not create a cause of action.” Armstrong v. Exceptional Child Ctr.,

 Inc, 575 U.S. 320, 324-25 (2015) (citation omitted). And while federal courts sitting

 in equity may sometimes enjoin violations of federal law under Ex Parte Young, this

 power “is subject to express and implied statutory limitations.” Id. at 327.

       In Armstrong, the Supreme Court concluded that the “Medicaid Act

 preclude[d] private enforcement” because of “[t]he sheer complexity associated with

 enforcing [it], coupled with the express provision of an administrative remedy.” Id.

 at 329. PLCAA is even more explicit: it states that “no provision of this chapter shall

 be construed to create a public or private cause of action or remedy.” 15 U.S.C. §

 7903(5)(C). And whether PLCAA is described as providing an affirmative defense



 sellers). Id. § 7903(2),(6). So lawsuits against gun industry members who lack a
 federal firearms license, such as makers of firearm accessories like large-capacity
 magazines, or sellers of “ghost guns,” are not barred by PLCAA. See Ileto, 565 F.3d
 at 1144-46 (PLCAA does not apply to claims against foreign gun manufacturer
 without a federal firearms license); Tretta v. Osman, No. 20STCV48910, 2022 WL
 3334319, *1-2 (Cal. Super. Ct. June 29, 2022). Thus, there are numerous
 applications of Act 28 that are not impacted by PLCAA, and NSSF’s facial
 preemption challenge necessarily fails. Salerno, 481 U.S. at 745; see also Sprint
 Telephony PCS, L.P. v. Cty. of San Diego, 543 F.3d 571, 579 n.3 (9th Cir. 2008) (en
 banc) (Salerno applies to “a federal preemption facial challenge to a state statute”).

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 or an “immunity,” see Ileto, 565 F.3d at 1142, its protection applies only to certain

 actions, not statutes. 15 U.S.C. §§ 7902(a), 7903(5)(A). Simply put, nothing in

 PLCAA’s text or structure suggests that Congress intended to permit private parties

 to use PLCAA as a sword, rather than a shield. That is why, until the commencement

 of NSSF’s litigation campaign, PLCAA had never been used as anything other than

 an affirmative defense.

       For similar reasons, § 1983 does not supply a cause of action either. A plaintiff

 filing suit under § 1983 “must assert the violation of a federal right, not merely a

 violation of federal law.” Blessing v. Freestone, 520 U.S. 329, 340 (1997). And

 Congress must create such rights “in clear and unambiguous terms.” Gonzaga Univ.

 v. Doe, 536 U.S. 273, 290 (2002). “[F]alling within the general zone of interest that

 the statute is intended to protect is not enough.” Polk v. Yee, 36 F.4th 939, 944 (9th

 Cir. 2022) (citation omitted). Here, again, PLCAA expressly disclaims a private

 right of action. It would be anomalous for a court to imply a right of action under §

 1983 when PLCAA rejects creating one itself. Indeed, as one court has observed,

 “PLCAA explicitly prevents its own use as a jurisdictional hook.” Woods v.

 Steadman’s Hardware, Inc., No. CV 12-33-H-CCL, 2013 WL 709110, at *3 (D.

 Mont. Feb. 26, 2013).

       Importantly, if a statute provides for its own “express, private means of

 redress,” then that “is ordinarily an indication that Congress did not intend to leave


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 open a more expansive remedy under § 1983.” City of Rancho Palos Verdes v.

 Abrams, 544 U.S. 113, 121 (2005). PLCAA does exactly that: it allows a gun

 industry defendant to assert PLCAA preemption by raising it as a defense.

       “[E]ven in a case involving relief sought under Ex parte Young, courts must

 determine whether Congress intended private parties to enforce the statute by private

 injunction or for that matter by a declaratory judgment.” Mich. Corr. Org. v.

 Michigan Dep’t of Corr., 774 F.3d 895, 905 (6th Cir. 2014). Where “neither

 [PLCAA] nor § 1983 nor Ex parte Young provides the private right of action . . .

 need[ed] to obtain declaratory relief against [the Attorney General],” “[t]his stops

 [NSSF’s] declaratory judgment action in its tracks.” Id. at 907.

       C.     Neither the dormant Commerce Clause nor any other
              constitutional provision to which NSSF points prohibits Act 28.
       NSSF’s     extraterritorial   regulation   arguments   are   premised   on   a

 misunderstanding of Act 28 and are foreclosed by Supreme Court precedent. NSSF,

 moreover, cannot create a new unenumerated right based on six separate

 constitutional provisions it mentions in passing. See Mot. at 17-18.

       To begin, NSSF asserts “that a state cannot directly regulate conduct that

 neither occurs nor is directed within its borders.” Mot. at 18 (emphases added). But

 Act 28 regulates only conduct that has a direct connection to Hawai‘i: the product at

 issue must be “sold, made, or distributed” or “intended to be sold or distributed” in

 Hawai‘i, or “possessed in the State and it was reasonably foreseeable that the item


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 would be possessed in the State.” HRS § 134-A. And while Act 28 may indirectly

 touch on out-of-state conduct, “[i]n our interconnected national marketplace, many

 (maybe most) state laws have the ‘practical effect of controlling’ extraterritorial

 behavior.” Ross, 143 S. Ct. at 1155. A broad rule like the one posed by NSSF would

 “cast a shadow over laws long understood to represent valid exercises of the States’

 constitutionally reserved powers.” Id. at 1156.

       In Ross, the Supreme Court upheld a California law prohibiting the in-state

 sale of pork products raised under cruel conditions, even though most pigs are bred

 outside of California, and the law necessarily influenced out-of-state conduct. Id. at

 1149-65. The Court reiterated that “antidiscrimination . . . lies at the core of . . .

 dormant Commerce Clause jurisprudence,” and that a dormant Commerce Clause

 claim must generally allege “purposeful discrimination against out-of-state

 economic interests.” Id. at 1157, 1158. It rejected an “almost per se” rule that would

 enjoin any state law that had the “practical effect of controlling commerce outside

 the State[.]” Id. at 1154-56. Here, NSSF does not (and cannot) allege that Act 28

 discriminates against out-of-state economic interests. Under Ross, this Court cannot

 enjoin Act 28 simply because it may impact commerce outside Hawai‘i.

       NSSF also argues that Act 28 unduly burdens interstate commerce. Mot. at

 20. But “most statutes that impose a[n unconstitutional] substantial burden on

 interstate commerce do so because they are discriminatory,” Ass’n des Eleveurs de


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 Canards et d’Oies du Quebec v. Harris, 729 F.3d 937, 952 (9th Cir. 2013), which

 Act 28 is not. In any case, NSSF has not demonstrated how Act 28 unduly burdens

 its members. NSSF merely provides bald assertions from two companies that claim

 they would need to entirely shut down operations to avoid liability under Act 28. See

 Ruger Decl. ¶¶14, 16-17; S&W Decl. ¶¶ 11-18. These declarations are very similar

 to the declarations those same companies submitted almost two years ago in NSSF

 v. James, where the court denied NSSF’s preliminary injunction motion and

 dismissed NSSF’s complaint. Gerber Decl. ¶ 3. Since then, neither company has

 actually stopped operating, id. ¶¶ 8-17, or shown any other tangible consequence

 from Act 28. NSSF’s arguments, moreover, could be made against any state law that

 could be applied to out-of-state manufacturers. Yet all manner of industries are

 subject to regulation in states that they choose to do business in, without any dormant

 Commerce Clause problem. Ross, 143 S. Ct. at 1156. NSSF’s conclusory recitation

 of six different constitutional provisions does nothing to change this conclusion.

       D.     Act 28 does not violate the First Amendment.

       NSSF lacks standing to bring its First Amendment claim, and the claim fails

 on the merits, in any event.

       Standing. In addition to the deficiencies identified supra at pages 10-15,

 NSSF’s First Amendment claim suffers from further standing shortcomings.

 Specifically, NSSF has not stated that there is any speech in which it or its members



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 wish to engage that is arguably proscribed by Act 28. Simply invoking the First

 Amendment, “[w]ithout any description of intended speech or conduct,” does not

 permit the court to “analyze whether what [a plaintiff] would like to do even

 arguably falls within the scope of” a statute. Carrico v. City & Cnty. of San

 Francisco, 656 F.3d 1002, 1007 (9th Cir. 2011).

       All that NSSF provides is two declarations claiming that the declarants’

 companies are “unable to determine what marketing activity might be construed as

 a violation of [Act 28]” and thus to “avoid liability for such activity” they would

 need “to cease all marketing activity entirely.” S&W Decl. ¶ 10; Ruger Decl. ¶ 10.

 This is nowhere near enough to maintain a facial, pre-enforcement challenge. There

 is no information regarding what kind of marketing the companies are engaged in or

 what statements they are worried about. Nor is there any indication that these

 companies have actually stopped marketing activities as a result of Act 28. In fact,

 both companies appear to still be marketing in Hawai‘i. See Tsukada Decl. 16

       The New Jersey case is again instructive. NSSF argued that its members “are

 ‘already suffering’ an injury to their First . . . Amendment rights [] [b]ecause they


 16
   A recent Ninth Circuit case provides an example of the sort of conduct change that
 does confer standing: “Fearing liability” under a California statute pertaining to
 marketing to minors, Junior Sports Magazines “ceased distributing the magazine in
 California and [] placed warnings on its website deterring California minors from
 accessing its content.” Junior Sports Mags. Inc. v. Bonta, No. 22-56090, 2023 WL
 5945879, at *4, --- F.4th ---- (9th Cir. Sept. 13, 2023).


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 do not know what marketing and manufacturing will be considered unreasonable,

 [and] the Law supposedly chills their protected conduct.” 80 F.4th at 219. The Third

 Circuit rejected this argument because it lacked a “‘threat of specific future harm,’”

 and was “backed by no evidence.” Id. at 220 (citation omitted). So too here.

       Merits. NSSF’s First Amendment claim also fails because Act 28 regulates

 commercial speech and it meets the standards set forth in Central Hudson Gas &

 Electric Corp. v. Public Service Commission of New York, 447 U.S. 557 (1980).

 Under Central Hudson, “commercial speech related to illegal activity” receives no

 constitutional protection. Id. at 563-64; Coyote Publ’g, Inc. v. Miller, 598 F.3d 592,

 606 (9th Cir. 2010) (“[T]he First Amendment extends no protection” to commercial

 speech that “concerns illegal activity or is misleading.”). Act 28’s marketing

 provisions regulate commercial speech directed at unlawful activity—namely,

 marketing for products that are “abnormally dangerous and likely to create an

 unreasonable risk of harm to public health and safety,” which presumptively

 includes: (1) marketing that “promotes the conversion of legal firearm-related

 products into illegal firearm-related products,” and (2) marketing “targeted at . . .

 individuals who are legally prohibited from accessing firearms.” HRS § 134B(d)(2),

 (3) (emphases added).17 Act 28 also presumptively includes the marketing of


 17
    In accordance with the Ninth Circuit’s decision in Junior Sports, the Attorney
 General will not bring any enforcement action premised solely on marketing lawful
 firearms to minors, see HRS § 134B(d)(3), so long as Junior Sports remains binding

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 products that are “most suitable for assaultive purposes instead of lawful self-

 defense, hunting, or other legitimate sport and recreational activities[.]” HRS § 134-

 B(d)(1). This provision covers illegal weapons and accessories such as automatic

 firearms and assault pistols. See HRS §§ 134-4(e), 134-8.

       Because NSSF brings this claim as a facial challenge, without stating what

 speech Act 28 regulates that its members engage in, the fact that Act 28 regulates

 commercial speech concerning unlawful conduct in and of itself defeats NSSF’s

 First Amendment claim. On a First Amendment facial challenge, a law is generally

 only unconstitutional in “one of two ways: ‘either [ ] it is unconstitutional in every

 conceivable application, or [ ] it seeks to prohibit such a broad range of protected

 conduct that it is unconstitutionally overbroad.’” First Resort, Inc. v. Herrera, 860

 F.3d 1263, 1271 (9th Cir. 2017) (alteration in original) (citation omitted). As shown

 above, Act 28 has numerous constitutional applications since it prohibits marketing

 that targets unlawful conduct.

       Even if the Court were to conclude that Act 28 does not primarily regulate

 speech concerning illegal conduct, Act 28 satisfies the intermediate scrutiny test in

 Central Hudson, whereby a government defendant need only show (1) that it has “a



 circuit precedent. Therefore, insofar as NSSF challenges Act 28 as applied to
 marketing to minors, NSSF’s arguments fail because, without a reasonable prospect
 of enforcement of that portion of Act 28 by the Attorney General, there is no basis
 for standing or injunctive relief.

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 governmental interest [that] is substantial,” (2) that Act 28 “directly advances the

 governmental interest asserted,” and (3) that Act 28 is “not more extensive than is

 necessary to serve that interest.” Cent. Hudson, 447 U.S. at 566.18

       First, Hawai‘i’s interest here—preventing the “unreasonable risk of harm to

 public health and safety” from gun violence—is substantial. See Junior Sports

 Mags., 2023 WL 5945879, at *5 (noting that “[p]rotecting [] citizens from gun

 violence and intimidation” is a “substantial” governmental interest). Satisfying this

 prong requires a showing that “the harms [Hawai‘i] recites are real and that its

 restriction will in fact alleviate them to a material degree.” Fla. Bar v. Went For It,

 Inc., 515 U.S. 618, 626 (1995) (quotation marks omitted). “Common sense counsels

 that advertising tends to stimulate demand for products and services. Conversely,

 prohibitions on advertising tend to limit demand.” Miller, 598 F.3d at 608; Gundlach

 Decl. ¶¶ 112-155 (explaining how responsible marketing limits harmful demand).

 The State has a clear and vested interest in reducing the demand for unlawful

 firearms and countering demand for people who are legally prohibited from

 possessing guns. See United States v. Torres, 911 F.3d 1253, 1264 (9th Cir. 2019)


 18
   Contrary to NSSF’s arguments, “content-based restrictions of commercial speech
 are subject to intermediate scrutiny[.]” Yim v. City of Seattle, 63 F.4th 783, 793 n.14
 (9th Cir. 2023). Act 28 does not regulate “speech based on the specific motivating
 ideology or perspective of the speaker” and is thus not viewpoint discriminatory.
 Boardman v. Inslee, 978 F.3d 1092, 1110 (9th Cir. 2020). Act 28 does not apply to
 “firearm industry members” because they hold a particular viewpoint; it applies
 because of the commercial transactions they market to customers. Cf. id.

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 (“[T]he government has a[] strong interest in preventing people who already have

 disrespected the law . . . from possessing guns.” (citations omitted)).

       NSSF does not directly counter these points, and instead argues that Act 28 is

 underinclusive because it does not regulate “violent criminals” or speech that may

 encourage gun violence like video games. Mot. at 22-23. As an initial matter,

 Hawai‘i has an expansive regulatory and criminal law regime dedicated to regulating

 firearms as set forth in HRS Chapter 134. Additionally, the question here is whether

 Act 28 materially advances Hawai‘i’s state interest, not whether Hawai‘i could have

 gone even further than it did. See Miller, 598 F.3d at 608 (“Nevada might be able to

 reduce the buying and selling of sex acts to a greater degree by instituting a complete

 ban on prostitution . . . [b]ut it has chosen to take an approach to reducing demand

 that will not short-circuit the health and safety gains that come with partial

 legalization.” (emphasis in original)).

       Central Hudson’s final prong asks if the law is “more extensive than

 reasonably necessary” in light of the State’s interest. Bd. of Trustees of State Univ.

 of New York v. Fox, 492 U.S. 469, 477 (1989) (quoting In re R.M.J., 455 U.S. 191,

 207 (1982)). A defendant need only show a “‘fit’ between the legislature’s ends and

 the means chosen to accomplish those ends,” and need not show that it is the “least

 restrictive means.” Id. at 480. As noted above, Act 28’s marketing provisions are

 directed at unlawful conduct and are confined to marketing of a “firearm-related


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 product that is abnormally dangerous and likely to create an unreasonable risk of

 harm to public health and safety in the State.” HRS § 134-B(b)(2). Thus, on its face,

 Act 28 only regulates marketing that is particularly dangerous.

       E.     Act 28 is not void for vagueness.

       A statute is unconstitutionally vague under the Due Process Clause if it “does

 not give a person of ordinary intelligence fair notice of what is prohibited,” or if it

 lacks “any ascertainable standard for inclusion and exclusion.” Tingley v. Ferguson,

 47 F.4th 1055, 1089-90 (9th Cir. 2022) (quotation marks omitted). “An economic

 regulation”—like Act 28—“‘is subject to a less strict vagueness test,’ both because

 ‘its subject matter is often more narrow, and because businesses, which face

 economic demands to plan behavior carefully, can be expected to consult relevant

 legislation in advance of action.’” Aargon Agency, Inc. v. O’Laughlin, 70 F.4th

 1224, 1231 (9th Cir. 2023) (quoting Vill. of Hoffman Ests. v. Flipside, Hoffman Ests.,

 Inc., 455 U.S. 489, 498 (1982)).

       In support of its void-for-vagueness challenge, NSSF points to the term

 “reasonable controls,” Mot. at 25, but “[m]any standards in the law are no more

 definite than a requirement of ‘reasonableness.’” Wm. Penn Parking Garage, Inc. v.

 City of Pittsburgh, 346 A.2d 269, 292 (Pa. 1975). “[A] statute is not void for

 vagueness merely because it uses the word ‘reasonable’ or ‘unreasonable[.]’” James,

 604 F. Supp. 3d at 68 (quotation omitted); accord United States v. Krumrei, 258 F.3d



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 535, 538 (6th Cir. 2001) (same); United States v. Ragen, 314 U.S. 513, 523 (1942)

 (“The mere fact that a penal statute is so framed as to require a jury upon occasion

 to determine a question of reasonableness is not sufficient to make it too vague to

 afford a practical guide to permissible conduct.”); United States v. Escobar, No.

 CRIM. 87-0074-M, 1987 WL 31141, at *7 (S.D. Cal. Sept. 30, 1987) (“The use of

 the term ‘reasonable’ as a standard regulating the assessment of costs does not render

 the statute vague.”). Act 28 includes a level of statutory flexibility that has long been

 endorsed by the courts.

       In any case, “otherwise imprecise terms may avoid vagueness problems when

 used in combination with terms that provide sufficient clarity.” Gammoh v. City of

 La Habra, 395 F.3d 1114, 1120 (9th Cir.), amended on denial of reh’g, 402 F.3d

 875 (9th Cir. 2005). Here, “[r]easonable controls” is defined by Act 28. It tasks

 firearm industry actors with implementing procedures designed to prevent: (1) straw

 purchases, (2) thefts and losses of firearms, and (3) violations of other state and

 federal law. HRS § 134-A. NSSF’s argument that it cannot figure out how to

 implement reasonable procedures designed to prevent firearm diversion cannot be

 given much credence, given that it has established numerous protocols designed to

 do just that. Gundlach Decl. ¶¶ 53-59.

       NSSF also takes issue with the phrase “most suitable for assaultive purposes”

 in HRS § 134-B(d)(1), Mot. at 25, but does not even attempt to show how this


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 commonly used term is unconstitutionally vague. The statutory provision itself

 provides further guidance by contrasting “assaultive purposes” with “lawful self-

 defense, hunting, or other legitimate sport and recreational activities.” HRS § 134-

 B(d)(1). This provision reaches weapons and accessories like assault pistols,

 automatic firearms, and silencers that are already unlawful in Hawai‘i. Id. §§ 134-

 4(e), 134-8, 134-8.5.

        Even if there may be close cases at the margins, “speculation about possible

 vagueness in hypothetical situations not before the Court will not support a facial

 attack on a statute when it is surely valid in the vast majority of its intended

 applications.” Hum. Life of Wash. Inc. v. Brumsickle, 624 F.3d 990, 1021 (9th Cir.

 2010) (citations omitted). Facial invalidation is “strong medicine” to be used

 “sparingly and only as a last resort.” Cal. Tchrs., 271 F.3d at 1155 (citations

 omitted). It is not appropriate here.

 III.   NSSF’s Members Will Not Suffer Irreparable Harm and the Balance of
        the Equities Favor Defendant.

        NSSF has also failed to satisfy the three remaining Winter factors. Under the

 second factor, plaintiffs must “demonstrate that irreparable injury is likely in the

 absence of an injunction.” Winter, 555 U.S. at 22. For the same reasons that NSSF

 has not demonstrated injury sufficient to confer standing—i.e., there is no evidence

 that its members have been forced to shutter (or even alter) their businesses—it

 cannot show irreparable harm. See Section I. Moreover, “[b]ecause the threat of civil


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 liability is too attenuated and conjectural to constitute a basis for [] standing, . . . this

 injury is too speculative to constitute an irreparable harm justifying injunctive

 relief.” Caribbean Marine Servs. Co. v. Baldrige, 844 F.2d 668, 675 (9th Cir. 1988)

 (internal citation omitted). Thus, NSSF’s claim that it will suffer irreparable harm if

 a lawsuit is filed against one of its members misses the mark. Moreover, NSSF’s

 assertion that PLCAA is an immunity statute and harms cannot be undone ignores

 that courts are well equipped to promptly decide any claim to immunity.

        Nor do the balance of harms or public interest favor an injunction. By reducing

 the diversion of guns onto the illegal market and decreasing gun crime, Gundlach

 Decl. ¶¶ 69-93, Act 28 promotes responsibility in the firearms industry. This

 supports denying the motion. By contrast, NSSF’s argument that the balance of the

 equities tips in its favor is contingent on its members suffering a constitutional

 injury. As explained above, no such constitutional injury has been established.

                                      CONCLUSION

        For the foregoing reasons, Defendant respectfully requests that this Court

 deny NSSF’s Motion.

        DATED: Honolulu, Hawai‘i, September 29, 2023.

                                           /s/ Kalikoʻonālani D. Fernandes
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